                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                   CLEVELAND DIVISION

 IN RE:                                              Bankruptcy No. 19-12300-aih

 BRAD H. FRIEDLANDER                                 Chapter 7

                           Debtor
                                                     Adversary Case No.
 KAPITUS SERVICING, INC. F/K/A
 COLONIAL FUNDING NETWORK, INC. AS
 SERVICER FOR ADVANCE AMERICAN
 BUSINESS SOLUTIONS, LLC
                  Plaintiff

 v.


 BRAD H. FRIEDLANDER

                          Defendant



   KAPITUS SERVICING, INC. F/K/A COLONIAL FUNDING NETWORK, INC. AS
SERVICER FOR ADVANCE AMERICAN BUSINESS SOLUTIONS, LLC’S COMPLAINT
            TO DETERMINE NONDISCHARGEABILITY OF DEBT

         Kapitus Servicing, Inc. f/k/a Colonial Funding Network, Inc. as servicer for Advance

American Business Solutions, LLC (the “Plaintiff”), by its undersigned attorneys, Bernstein-

Burkley, P.C., files this Complaint under Sections 523 of Title 11 of the United States Code (the

“Bankruptcy Code”) objecting to the dischargeability of a pre-petition debt owed by Defendant

Brad H. Friedlander (the “Defendant”), and in support thereof alleges as follows:

                                    JURISDICTION AND VENUE

      1. This is a core proceeding under 28 U.S.C. § 157(b)(2)(I) and is brought pursuant to 11

U.S.C. § 523(a) and Rule 4007 of the Federal Rules of Bankruptcy Procedure.

      2. Subject matter jurisdiction is conferred upon this court by 28 U.S.C. §§ 157, 1334 and 523.

      3. Venue of the instant action properly lies in this Court pursuant to 28 U.S.C. § 1409(a)

because this Complaint arises in Defendant’s Chapter 7 bankruptcy case.
19-12300-aih        Doc 29     FILED 07/18/19      ENTERED 07/18/19 15:26:03           Page 1 of 18
    4. If the Court should find that this is not a core proceeding, Plaintiff consents to entry of final

judgment by the Court. 1

    5. This Adversary Proceeding relates to In Re Brad Friedlander, Case No. 19-12300-aih

(Bankr. ND Ohio)(Chapter 7), now pending in this Court (the “Bankruptcy Case”).

                                                THE PARTIES

    6. Plaintiff is, and was, at all relevant times, a Virginia Corporation with its principal place of

business at 2500 Wilson Boulevard, Suite 340, Arlington, Virginia.

    7. Upon information and belief, Defendant is an individual residing at 3600 Park East Drive

Apt. 513, Beachwood, OH 44122.

    8. Upon information and belief, the Defendant is or was, at all relevant times, an

owner/officer/director/member/manager and guarantor of BJRP LLC, d/b/a Moxie the Restaurant,

d/b/a Red the Steakhouse (“BJRP”).

    9. Plaintiff is an unsecured creditor with a claim against Defendant, in the amount of at least

$449,912.00 (plus additional costs, fees, expenses and interest), pursuant to a certain personal

guaranty of an obligation of BJRP executed by Defendant and as more fully detailed below.

                                       GENERAL ALLEGATIONS

    10. Defendant filed for bankruptcy under Chapter 7 of the Bankruptcy Code on April 17, 2019

(the “Petition Date”) in the United States Bankruptcy Court for the Northern District of Ohio (the

“Court”), Bankruptcy Case No. 19-12300-aih (the “Bankruptcy Case” or “Case”).

    11. July 19, 2019 was established as the deadline to object to discharge.

    12. Accordingly, this Complaint is timely filed.



        1
           Notwithstanding any of the allegations and claims herein, the institution of this Adversary Proceeding,
the filing of this complaint and any other appearance in this Adversary Proceeding and in the above-referenced
bankruptcy case, including the submission of motions, opposition papers, and entry of orders, is without waiver,
and express reservation, of any and all of Plaintiff’s rights, defenses and remedies available at law and in equity,
including, without limitation, under the Agreement (as defined below), Uniform Commercial Code, any other
applicable federal or state law and/or commercial code, and the Federal Arbitration Act, 9 U.S.C. § 1 et seq. If
and when Plaintiff files a proof of claim in the Bankruptcy Case (the “Proof of Claim”), Plaintiff expressly
incorporates any reservation of rights that it shall incorporate in the Proof of Claim.
 19-12300-aih        Doc 29      FILED 07/18/19          ENTERED 07/18/19 15:26:03                Page 2 of 18
   13. On or about May 3, 2018, Defendant executed a Merchant Funding Application with

Plaintiff (“Application”) on behalf of BJRP. A true and correct copy of the Application is attached

hereto as Exhibit “A” and is incorporated by reference herein in full.

   14. Prior to entering into any agreement, Defendant represented to Plaintiff through a funding

call on May 8, 2018 (“Funding Call”) that BJRP was a profitably run, expanding business that

specifically operated as a restaurant and that it did not intend to seek other funding or financing.

Defendant also represented during that funding call to Plaintiff that BJRP was not insolvent, did not

anticipate selling the business and that Defendant and BJRP did not anticipate that BJRP would file

for bankruptcy at any time in the near future. Defendant indicated during the Funding Call that he

was renovating one of the restaurants, but that was the only restaurant that would be closed

(temporarily). Defendant also indicated that BJRP was current with all lenders/creditors.

   15. Additionally, within the Funding Call Defendant represented to Plaintiff that there would

only be one other creditor, OnDeck, with a lien on BJRP’s assets in front of Plaintiff’s. As a result

of such information, Plaintiff required that part of the funds requested by Defendant be paid

directly to OnDeck such that OnDeck’s lien would be eliminated and Plaintiff would have a first

priority security interest over all of BJRP’s assets. Defendant estimated to Plaintiff that there was

approximately $200,000 owed to OnDeck.

   16. During the Funding Call, Defendant acknowledged that any false or misleading statements

could be construed as fraud.

   17. All statements or actions attributed to Defendant in this Complaint are to be understood to

have been statements or actions made or performed by Defendant in his official capacity on behalf

of BJRP and personally as the guarantor.

   18. Relying on these representations, Plaintiff entered into the below agreement with

Defendant.




19-12300-aih       Doc 29      FILED 07/18/19      ENTERED 07/18/19 15:26:03            Page 3 of 18
    19. Reliance on these representations was reasonable and justifiable because, at the time,

Plaintiff had no knowledge, nor any reason to know, that the statements of information provided by

Defendant were false.

    20. In reliance on the representations made by BJRP and the Defendant in the Agreement, the

Application and during the Pre-Funding Call, Plaintiff agreed to purchase certain of BJRP’s future

receivables.

    21. Prior to the Petition Date, Defendant, as both a principal and guarantor, executed a Revenue

Based Factoring (RBF/ACH) Agreement (hereinafter “Agreement”) with Plaintiff.             A true and

correct copy of the Agreement is attached as Exhibit “B” and is incorporated by reference herein in

full.

    22. In the Agreement, the Defendant sold and Plaintiff purchased BJRP’s receivables in the

amount of Five Hundred Seventy Eight Thousand, One Hundred Dollars ($578,100.00) (the

“Purchased Receivables”) in exchange for an up-front advance in the amount of Four Hundred Ten

Thousand Dollars ($410,000.00) (the “Purchase Price” or “Funds”).

    23. Pursuant to the Agreement, BJRP agreed to deposit all of its receipts in one (1) bank account

acceptable to Plaintiff (the “Agreed Account”) and irrevocably authorized Plaintiff to debit the

Purchased Receivables from the Agreed Account via ACH (Automatic Clearing House) payments in

the weekly amount of Seven Thousand, Four Hundred Eighteen Dollars ($7,418.00).

    24. By way of the Agreement, Defendant represented, warranted, and covenanted the following

in writing:

        II. REPRESENTATIONS, WARRANTIES AND COVENANTS Merchant represents,
        warrants and covenants that as of this date and during the term of this Agreement:

      2.1 Financial Condition and Financial Information. Its bank and financial statements,
      copies of which have been furnished to FUNDER, and future statements which will be
      furnished hereafter at the discretion of FUNDER, fairly represent the financial condition of
      Merchant at such dates, and since those dates there has been no material changes, financial or
      otherwise, in such condition, operation or ownership of Merchant. Merchant has a continuing,
      affirmative obligation to advise FUNDER of any material change in its financial condition,
      operation or ownership. Funder may request statements at any time during the performance
 19-12300-aih Doc 29 FILED 07/18/19 ENTERED 07/18/19 15:26:03 Page 4 of 18
     of this Agreement and the Merchant shall provide them to FUNDER within 5 business days.
     Merchant’s failure to do so is a material breach of this Agreement.

     2.7 Daily Batch Out. Merchant will batch out receipts with the Processor on a daily basis.

     2.9 No Bankruptcy or Insolvency. As of the date of this Agreement, Merchant represents
     that it is not insolvent and does not contemplate and has not filed any petition for bankruptcy
     protection under Title 11 of the United States Code and there has been no involuntary petition
     brought or pending against Merchant. Merchant further warrants that it does not anticipate
     filing any such bankruptcy petition and it does not anticipate that an involuntary petition will
     be filed against it. …

     2.10 Additional Financing. Merchant shall not enter into any arrangement, agreement or
     commitment for any additional financing, whether in the form of a purchase of receivables or
     a loan to the business with any party other than FUNDER without their written permission.

     2.11 Unencumbered Receipts. Merchant has good, complete and marketable title to all
     Receipts, free and clear of any and all liabilities, liens, claims, changes, restrictions,
     conditions, options, rights, mortgages, security interests, equities, pledges and encumbrances
     of any kind or nature whatsoever or any other rights or interests that may be inconsistent with
     the transactions contemplated with, or adverse to the interests of FUNDER.

     2.12 Business Purpose. Merchant is a valid business in good standing under the laws of the
     jurisdictions in which it organized and/or operates, and Merchant is entering into this
     Agreement for business purposes and not as a consumer for personal, family or household
     purposes.

     4.6 Survival of Representation, etc. All representations, warranties and covenants herein
     shall survive the execution and delivery of this Agreement and shall continue in full force
     until all obligations under this Agreement shall have been satisfied in full and this Agreement
     shall have terminated.


     25.    Likewise, by way of the Agreement, Debtor agreed to certain terms in writing:

      1.1 Merchant Deposit Agreement. Merchant shall execute an agreement (the “Merchant
      Deposit Agreement”) acceptable to FUNDER, with a Bank acceptable to FUNDER, to obtain
      electronic fund transfer services. Merchant shall provide FUNDER and/or its authorized
      agent with all of the information, authorizations necessary for verifying Merchant’s
      receivables, receipts and deposits into the Account. Merchant shall authorize FUNDER
      and/or its agent to deduct the amounts owed to FUNDER for the Receipts as specified herein
      from settlement amounts which would otherwise be due to Merchant by permitting FUNDER
      to withdraw the specific daily amount credited against the specified percentages by ACH


19-12300-aih    Doc 29     FILED 07/18/19       ENTERED 07/18/19 15:26:03            Page 5 of 18
         debit of the Merchant account. The authorization shall be irrevocable without the written
         consent of FUNDER.

         1.9 Sale of Receipts. Merchant and FUNDER agree that the Purchase Price under this
         Agreement is in exchange for the Purchased Amount and that such Purchase Price is not
         intended to be, nor shall it be construed as a loan from FUNDER to Merchant. Merchant
         agrees that the Purchase Price is in exchange for the sale of future Receipts pursuant to this
         Agreement equals the fair market value of such Receipts. FUNDER has purchased and shall
         own all the Receipts described in this Agreement up to the full Purchased Amount as the
         Receipts are created. Payments made to FUNDER in respect to the full amount of the
         Receipts shall be conditioned upon Merchant’s sale of products and services and the payment
         therefore by Merchant’s customers in the manner provided in Section 1.1. In no event shall
         the aggregate of all amounts be deemed as interest hereunder and charged or collected
         hereunder exceed the highest rate permissible at law. In the event that a court determines that
         FUNDER has charged or received interest hereunder in excess of the highest applicable rate,
         the rate in effect hereunder shall automatically be reduced to the maximum rate permitted by
         applicable law and FUNDER shall promptly refund to Merchant any interest received by
         FUNDER in excess of the maximum lawful rate, it being intended that Merchant not pay or
         contract to pay, and that FUNDER not receive or contract to receive, directly or indirectly in
         any manner whatsoever, interest in excess of that which may be paid by Merchant under
         applicable law.



    26. On or about May 8, 2018, Plaintiff fulfilled its obligations under the Agreement by advancing

the Purchase Price to Merchant, less any fees owed.

    27. On or about May 9, 2018, Plaintiff filed a UCC-1 financing statement (the “Financing

Statement”) with the Ohio Secretary of State, thereby perfecting its purchase of the Purchased

Receivables.

    28. As of the Petition Date, Defendant owes Plaintiff no less than Four Hundred Forty Nine

Thousand Nine Hundred Twelve Dollars ($449,912.00), not including costs and reasonable

attorney’s fees for legal proceedings, which Plaintiff is entitled to recover pursuant to paragraph 1.11

of the Agreement.

    29. Defendant executed the Agreement in his official capacity on behalf of BJRP, and

personally, as a guarantor, agreeing to be obligated to all terms of the Agreement. Agreement (Ex.

B) at p. 1.

 19-12300-aih       Doc 29    FILED 07/18/19       ENTERED 07/18/19 15:26:03            Page 6 of 18
    30. The Defendant also executed a personal guaranty (the “Guaranty”) guaranteeing that he

would not take any action, nor permit BJRP to take any action that would breach the Agreement.

The Guaranty is annexed to the Agreement.

    31. Of the $578,100.00 of Purchased Receivables, Plaintiff has received only $130,688.00

(merely 22.6% of the total Purchased Receivables), leaving a balance of $447,241.00 outstanding

under the Agreement (excluding additional fees and costs that have been incurred and will continue

to be incurred).

    32. On September 28, 2018, BJRP filed for Chapter 11 in the Northern District of Ohio at Case

No. 18-15839 (“BJRP Bankruptcy”).

    33. On December 26, 2018, the Court entered an Order in the BJRP Bankruptcy approving the

sale of BJRP restaurants free and clear of all liens. See Doc No. 55. The sale realized no monies for

Plaintiff.

    34. Upon information and belief, Defendant never had any intention to honor the Agreement or

Guaranty. Instead, upon information and belief, Defendant intended to mislead Plaintiff to obtain

the Funds, all the while knowing that neither BJRP nor Defendant intended to nor was capable of

remitting the Purchased Receivables and/or otherwise pay Plaintiff. Payment on the Purchased

Receivables stopped October 2018, just five (5) months after funding.

    35. Upon information and belief, at all relevant times, BJRP and Defendant did not intend to

use the Funds for the purposes of operating a restaurant.

    36. Upon information and belief, at all relevant times BJRP and Defendant did not intend to use

the funds from Plaintiff for BJRP’s business purposes. Rather, Defendant and BJRP intended to use

the Funds to advance money to Defendant’s other business entities.

    37. Upon information and belief, at the time the Agreement was being negotiated and executed,

BJRP was either insolvent or very near to insolvency, due in part or in whole to BJRP’s and

Defendant’s pattern of advancing funds from BJRP to their other business entities.


 19-12300-aih      Doc 29    FILED 07/18/19       ENTERED 07/18/19 15:26:03           Page 7 of 18
   38. Upon information and belief, at all relevant times both BJRP and Defendant were aware

that BJRP was insolvent or very near insolvency.

   39. Upon information and belief, at all relevant time, BJRP and Defendant were aware that, due

to its insolvency or nearness to insolvency, BJRP would likely need to file for bankruptcy

protection in the very near future, which it did less than five (5) months after entering into the

Agreement.

   40. Upon information and belief, there were creditors other than OnDeck who, prior to and at

the time of the Agreement, had blanket liens over all of BJRP’s assets and whose security interests

would have priority over Plaintiff’s security interests.

   41. Upon information and belief, at the time the Agreement was being negotiated and executed,

Defendant and BJRP were also actively seeking additional funding from other sources without

Plaintiff’s knowledge or consent.

   42. According to BJRP’s Schedule D filed as a part of its Bankruptcy schedules (“Schedule

D”), on June 1, 2018, less than a month after entering into the Agreement with Plaintiff, BJRP

obtained funding from Tower IV LLC (hereinafter “Tower”) which, as of the date the Bankruptcy

was filed, had an outstanding balance of Nine Hundred Sixty Thousand Dollars ($960,000.00). A

true and correct copy of Schedule D is attached hereto as Exhibit “C.”

   43. Upon information and belief, Defendant and BJRP did not intend to grant Plaintiff a first

priority security interest on all of BJRP’s assets.

   44. Upon information and belief, Defendant’s and BJRP’s misrepresentations were made

knowingly with the intent to deceive Plaintiff and to thereby induce Plaintiff to enter into the

Agreement and advance money to them.

   45. The combined sum of outstanding Receivables due and owing to Plaintiff along with all

costs, fees, expenses and interest is at least $447,241.00. In addition, Plaintiff is entitled to recover




19-12300-aih       Doc 29      FILED 07/18/19         ENTERED 07/18/19 15:26:03           Page 8 of 18
attorneys’ fees and expenses in connection with this dispute pursuant to Section 3.3 of the

Agreement.

                                          COUNT I
               (Nondischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(2)(A))

    46. Plaintiff incorporates by reference the above allegations set forth in Paragraphs one (1)

through forty-five (45) and incorporates the same herein as though more fully stated at length.

    47. Defendant’s liability to Plaintiff, as alleged herein, is a debt for money owed and services

provided within the meaning of 11 U.S.C. § 523(a)(2).

    48. Defendant obtained money and services by false pretenses, false representations, and/or

actual fraud within the meaning of 11 U.S.C. 523(a)(2)(A).

    49. Pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, a debt in which a Defendant

obtains money by false pretenses, false statements, or actual fraud shall not be dischargeable.

    50. Plaintiff believes and alleges that Defendant entered into the Agreement with the specific

intent to obtain funds from Plaintiff which he knew neither he nor BJRP would repay. In addition,

upon information and belief, Defendant made false statements to Plaintiff with the intent to induce

Plaintiff to extend credit.

    51. Upon information and belief, at the time the Agreement was being negotiated the Defendant

did not intend to use the Funds for any business purpose as stated in paragraph 2.12 of the

Agreement. Rather, upon information and belief, the Defendant intended to use the funds to

advance money to his other business entities.

    52. Upon information and belief, Defendant falsely represented to Plaintiff that there was only

one outstanding lien on BJRP’s assets, held by OnDeck, that would have priority over Plaintiff’s

lien pursuant to the Agreement and that OnDeck’s lien would be paid in full pursuant to the

Agreement such that Plaintiff would have the first lien on all of BJRP’s assets.




19-12300-aih       Doc 29     FILED 07/18/19      ENTERED 07/18/19 15:26:03            Page 9 of 18
   53. Upon information and belief, another creditor, American Express Bank, also had a lien over

all of BJRP’s assets and said lien also had priority over Plaintiff’s lien at the time that the

Agreement was negotiated and executed. See, Exhibit “C”.

   54. Defendant also engaged in the following:

           a.   Defendant executed the Application in which he falsely and fraudulently

                represented that BJRP and Defendant would use the Funds for “working capital”

                when in fact the Defendant and BJRP intended to use the Funds in other business

                entities.

           b. On or about February 01, 2018, Defendant and BJRP incurred an obligation to

                American Express Bank in which American Express Bank obtained a second

                blanket lien over all of BJRP’s assets and which was second only to the first lien

                held by Tower IV Investments that Defendant and BJRP incurred on or about June

                1, 2018.

           c. On or about May 07, 2018, Defendant executed the Guaranty which falsely and

                fraudulently represented to Plaintiff that Plaintiff had obtained a first priority

                security interest in all of BJRP’s assets.

           d. On or about May 07, 2018, Defendant executed the Agreement in which he falsely

                and fraudulently represented that BJRP was not insolvent or nearly insolvent.

           e. On or about May 07, 2018, BJRP received money from Plaintiff based on

                Defendant’s false and fraudulent statements and acts.

   55. Upon information and belief, as fully detailed above, at the time the representations were

made, Defendant knew that his representations were false, untrue, misleading, and, as a direct and

proximate cause of these intentional misrepresentations and omissions, Defendant knew that

Plaintiff would be induced to tender Funds to BJRP.




19-12300-aih       Doc 29     FILED 07/18/19       ENTERED 07/18/19 15:26:03             Page 10 of 18
   56. Upon information and belief, Defendant intended to induce Plaintiff to act or refrain from

acting upon his false representations, and Plaintiff justifiably relied upon such false representations.

   57. Plaintiff suffered damages as a direct and proximate consequence of the false

representations made by Defendant.

   58. As a result of false representations by Defendant, Defendant obtained from Plaintiff, inter

alia, the Funds which would not have been authorized by Plaintiff if the misrepresentations had not

been made.

   59. Defendant’s statements and acts described above constitute conduct to obtain money by

false pretenses, false statements, or actual fraud.

   60. Defendant’s obligation to Plaintiff is a debt for money, property, services, or an extension,

renewal, or refinancing of credit, obtained by false pretenses, a false representation, or actual fraud,

and is nondischargeable. Plaintiff is further entitled to an award of damages in the amount of

$447,241.00, plus attorneys’ fees, costs incurred, and such other relief as the Court deems is just

and appropriate.


                                          COUNT II
               (Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(B))
   61. Plaintiff incorporates by reference the above allegations set forth in Paragraph one (1)

through sixty (60) and incorporates the same herein as though more fully stated at length.

   62. Defendant’s liability to Plaintiff, as alleged herein, is a debt for money owed and services

provided within the meaning of 11 U.S.C. § 523(a)(2).

   63. Pursuant to 11 U.S.C. §523(a)(2)(B), a debt in which a Defendant obtains money by a

statement in writing that is materially false respecting an insider’s financial condition, on which the

creditor reasonably relied, and which the Defendant caused to be published with intent to deceive,

is nondischargeable.




19-12300-aih       Doc 29     FILED 07/18/19          ENTERED 07/18/19 15:26:03         Page 11 of 18
   64. Defendant, an insider of BJRP, did obtain money from Plaintiff by the following written,

materially false statements respecting BJRP’s financial condition on which Plaintiff reasonably

relied, among others:

           a. On May 07, 2018, Defendant executed the Agreement in which he falsely and

               fraudulently represented BJRP’s financial condition was accurately reflected in the

               documents produced to Plaintiff.

           b. On May 07, 2018, upon information and belief, Defendant executed the Agreement

               in which he falsely and fraudulently represented that he and BJRP intended to use

               the Funds for working capital, when in fact, Defendant intended to use the Funds to

               advance money to his other business entities.

           c. On May 07, 2018, Defendant executed the Agreement in which he falsely and

               fraudulently represented that BJRP was not insolvent or nearly insolvent and

               additionally represented such information in a recorded phone call that occurred

               prior to finalizing the Agreement when Defendant responded to Plaintiff’s question

               regarding if Defendant knew of any reason BJRP might need to file for bankruptcy

               at any time in the near future by stating “No.”

   65. Upon information and belief, as fully detailed above, at the same time the representations

were made, Defendant knew these representations were materially false, untrue and misleading.

   66. Defendant caused these false statements to be made in writing, including, but not limited to

publishing such statements in the Agreement and Application.

   67. Defendant is an insider of BJRP, because, at all relevant times, Defendant served as owner,

officer, director, managing member and/or person in control of BJRP, within the meaning of

“insider” under 11 U.S.C. § 101(31)(A)(iv).

   68. Plaintiff reasonably relied on these written statements made by Defendant in deciding to

transfer the Funds to BJRP.


19-12300-aih     Doc 29       FILED 07/18/19      ENTERED 07/18/19 15:26:03         Page 12 of 18
   69. Plaintiff suffered damages as a direct and proximate consequence of the materially false

statements made by Defendant.

   70. As a result of these materially false written statements by Defendant, Defendant obtained

from Plaintiff, inter alia, the Funds which would not have been authorized by Plaintiff if the

materially false statements had not been made.

   71. Defendant’s activities described above constitute obtaining money by materially false

written statement regarding an insider’s financial condition, on which Plaintiff relied, and which

Defendant made with the intent to deceive.

   72. Consequently, Defendant’s debt to Plaintiff is one for money obtained by materially false

written statement regarding an insider’s financial condition, on which Plaintiff relied, and which

Defendant made with intent to deceive, and is nondischargeable.

   73. Accordingly, Defendant’s debt to Plaintiff is nondischargeable, and Plaintiff is entitled to an

award of damages in the amount of $447,241.00, plus attorneys’ fees, costs incurred, and such

other relief as the Court deems just and proper.


                                         COUNT III
                (Nondischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(4))
   74. Plaintiff hereby incorporates paragraphs one (1) through seventy-three (73) and incorporates

the same as though set forth herein

   75. Plaintiff believes and alleges that Defendant entered into the Agreement with the specific

intent not to use the funding proceeds for business purposes and not to repay the receivables.

Additionally, upon information and belief, Plaintiff alleges that Defendant made false statements to

Plaintiff with the intent to induce Plaintiff to extend credit and execute the Agreement.

   76. Defendant’s liability to Plaintiff as alleged herein, is a debt, “for fraud or defalcation while

acting in a fiduciary capacity, embezzlement, or larceny” within the meaning of 11 U.S.C.

§523(a)(4).


19-12300-aih      Doc 29     FILED 07/18/19        ENTERED 07/18/19 15:26:03            Page 13 of 18
   77. Defendant within five (5) months, defaulted on its payment obligations under the

Agreement. Plaintiff only debited a total of $130,688.00 ACH payments. Defendant thereafter

stopped payments to Plaintiff due to BJRP’s bankruptcy proceedings.

   78. Defendant obtained the funds from the Agreement by committing fraud and defalcation

while acting in a fiduciary capacity as the owner/officer/director/member/manager and guarantor of

BJRP.

   79. Upon information and belief, Defendant misappropriated significant portions of the funds

for his own benefit for other restaurant entities in which the Defendant was affiliated with

constituting fraud and deceit.

   80. Upon information and believe, Defendant transferred the funds and/or Purchase Receivables

into accounts not accessible by the Plaintiff, which constitutes larceny.

   81. Alternatively, Defendants’ misappropriation of the funds and/or receivables was

embezzlement because Plaintiff entrusted Defendants with the funds and/or receivables and

because Defendant may have obtained control over such funds and/or receivables without

authorization.

   82. The Defendant’s debt to Plaintiff, is a debt for larceny and/or embezzlement because the

Defendant moved the receivables to be deposited into the Account that Plaintiff acquired under the

Agreement with the intent to permanently deprive the Plaintiff of those receivables.

   83. Upon information and belief, Plaintiff alleges that Defendant never had any intention to

honor the Agreement and Guaranty.

   84. Defendant’s obligation to Plaintiff is a debt for fraud or defalcation while acting in a

fiduciary capacity, embezzlement, or larceny, and is nondischargeable. Plaintiff is further entitled

to an award of damages in the amount of $447,241.00 plus attorneys’ fees, costs incurred, and such

other relief as the Court deems just and proper

                                FOURTH CLAIM FOR RELIEF
                   (Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(6)
19-12300-aih      Doc 29     FILED 07/18/19       ENTERED 07/18/19 15:26:03            Page 14 of 18
    85. Plaintiff repeats and realleges the above allegations set forth in Paragraphs one (1) through

eighty-four (84) and incorporates the same herein as though more fully stated at length.

    86. Pursuant to Section 532(a)(6) of the Bankruptcy Code, a debt incurred by a debtor who

engages in willful malicious conduct which results in damage shall be nondischargeable.

    87. Plaintiff believes and alleges that Defendant entered into the Agreement with the specific

intent to induce Plaintiff to extend the Funds.

    88. Debtor also engaged in the following willful and malicious acts, among others:

    89. On May 7, 2018, Defendant executed the Agreement in which he falsely and fraudulently

represented BJRP’s financial condition was accurately reflected in the documents and information

produced to Plaintiff

    90. On May 7, 2018, Defendant executed the Agreement in which he falsely and fraudulently

represented that he would provide Plaintiff irrevocable access to the account for the receipts by

permitting Plaintiff to withdraw the specific amount credited against the specified percentages by

ACH debit of the Account.

    91. During the Funding Call and in the Agreement which Defendant executed, he falsely and

fraudulently represented that BJRP had no intention of filing for bankruptcy and that BJRP was not

insolvent.

    92. Defendant falsely and fraudulently represented to a representative of Plaintiff that BJRP

was not in arrears on any loans or with any financial institutions.

    93. On or about May 07, 2018, Defendant executed the Guaranty which falsely and fraudulently

represented to Plaintiff that Plaintiff had obtained a first priority security interest in all of BJRP’s

assets.

    94. During the Funding Call and the execution of the Agreement, Defendant falsely and

fraudulently represented to a representative of Plaintiff that he was not planning on closing BJRP

within the next twelve months despite ceasing deposits and/or prohibiting access to the Account
19-12300-aih      Doc 29      FILED 07/18/19        ENTERED 07/18/19 15:26:03             Page 15 of 18
other than for one location to conduct a rehabilitation of the restaurant. Defendant specifically

stated that this was not a permanent close.

   95. Upon information and belief, Defendant made material omissions of fact that induced

Plaintiff into transferring the Funds to BJRP, such as failing to disclose that Defendant and/or BJRP

did not intend to pay the Purchase Price due to Plaintiff, as well as not disclosing that BJRP was

insolvent and on the verge of filing bankruptcy.

   96. BJRP received money from Plaintiff based on Defendant’s false and fraudulent statements

and acts.

   97. Defendant’s activities described herein constitute willful and malicious conduct which

resulted in damage to Plaintiff.

   98. Consequently, the Defendant’s debt to Plaintiff was incurred by Defendant on behalf of

BJPR and as a personal guarantor, who engaged in willful and malicious conduct which resulted in

damage to Plaintiff and is nondischargeable.

   99. Upon information and belief, all of the acts and omissions that constitute a breach or default

of the Agreement were performed or omitted by, at the direction of or with the consent of

Defendant and thus Defendant is in breach of the Agreement giving Plaintiff a right to recover

damages.

   100.        Thus, Plaintiff is entitled to an Order from this Court declaring that, pursuant to 11

U.S.C. § 523(a)(6), Defendant’s debt to Plaintiff is non-dischargeable and a request for damages

for breach of contract and a judgment for money pursuant to the request herein.


WHEREFORE, Plaintiff requests judgment against Defendant as follows:


       A. On Count I, for judgment against Defendant determining that the amount owed by the

            Defendant to Plaintiff is not dischargeable in the Bankruptcy Case, in any other chapter

            under Title 11 to which this case may be converted, and in any future bankruptcy case

         filed by or against Defendant, and for money judgment according to proof;
19-12300-aih Doc 29 FILED 07/18/19 ENTERED 07/18/19 15:26:03 Page 16 of 18
     B. On Count II, for Relief for judgment against Defendant determining that the amount

        owed by Defendant to Plaintiff is not dischargeable in the Bankruptcy Case, in any other

        chapter under Title 11 to which this case may be converted, and in any future

        bankruptcy case filed by or against Defendant, and for money judgment according to

        proof;

     C. On Count III, for Relief for judgment against Defendant determining that the amount

        owed by Defendant to Plaintiff is not dischargeable in the Bankruptcy Case, in any other

        chapter under Title 11 to which this case may be converted, and in any future

        bankruptcy case filed by or against Defendant, and for money judgment according to

        proof;

     D. On Count IV for Relief for judgment against Defendant determining that the amount

        owed by Defendant to Plaintiff is not dischargeable in the Bankruptcy Case, in any other

        chapter under Title 11 to which this case may be converted, and in any future

        bankruptcy case filed by or against Defendant, and for money judgment;

     E. Granted attorneys’ fees and costs herein incurred; and

     F. Granting such other and further relief as this Court may deem just and proper.




19-12300-aih     Doc 29   FILED 07/18/19     ENTERED 07/18/19 15:26:03           Page 17 of 18
Dated: July 18, 2019                                   BERNSTEIN-BURKLEY, PC

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19-12300-aih     Doc 29   FILED 07/18/19   ENTERED 07/18/19 15:26:03     Page 18 of 18
